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Gnited States District Court — |
Pistrict of Pevava | 1! >

1 BY. — 7 G Bei
> |! Jeromy Oelker K i.

6 ||525 e. Bonanza Rd
, ||Las Vegas, NV 89101

Jeromy Oelker (pro se)
Petitioner

2:23-cv-01490-APG-DJA
11 || V.
MOTION TO ENJOIN

13 ||Magistrate Victoria Olds 28 U.S.C. § 2283

Magistrate Paige Nolta

(CR31-20-0097 Lewis
County, Idaho)

Prosecutor Zach Pall
Deputy Arnzen

16 || Sheriff Davis

17 || Lewis County Court, Idaho
Respondents

Because this is a RICO case, and 1983, 1985(3) actions require a level of |
Summary review; I am providing documents to the court to support the
21 |“Continuing Harm Doctrine.” “A continuing violation is occasioned by
>» ||continual unlawful acts, not by continual ill effects from an original

violation.” Ward v. Caulk, 650 F.2d 1144, 1147 (9th Cir. 1981)

“4 !Please see original complaint and Memorandum in Support of motion to
25 |fenjoin regarding “Accrual” and “Equitable Tolling.” Holland v. Florida
560 U.S. 631 (2010)

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I was “diligently” prosecuting all these deprivations via (§ 1443 Removal)
and Idaho Bar Complaints during 2020-2022, but was discriminated
against by them and by the District Court of Idaho in 2021. Furthermore I
was conspired against, discriminated against, and wrongfully imprisoned
by Henderson Justice Court, NV in 2022. Menominee Indian Tribe of Wis.
v. United States, 577 U.S. 250, 255 (2016). (please see Exhibit X-11, and
X-14)

Pursuant to 28 U.S.C. § 2283; Certain exceptional circumstances -- where
irreparable injury is "both great and immediate," Younger v Harris 401
US. at 401 U.S. 46.

Under Mitchum v. Foster, 407 U.S. 225 (1972); Title 42 U.S.C. § 1983,
which authorizes a suit in equity to redress the deprivation under color of
state law "of any rights, privileges, or immunities secured by the
Constitution ... ," is within that exception of the federal anti-injunction
statute, 28 U.S.C. § 2283, that provides that a federal court may not enjoin
state court proceedings "except as expressly authorized by Act of
Congress." “And in this § 1983 action, though the principles of equity,
comity, and federalism that must restrain a federal court when asked to
enjoin a state court proceeding (cf. Younger v. Harris, 401 U. S. 37, and
companion cases) are not questioned, the District Court is held to have
erred_in holding that the anti-injunction statute absolutely barred_ its
enjoining a pending state court proceeding under _any circumstances
whatsoever.” Pp. 407 U. S. 228-243. 315 F. Supp. 1387. In Younger, this
Court emphatically reaffirmed "the fundamental policy against federal

interference with state criminal prosecutions." 401 U.S. at 401 U.S. 46.

It made clear that even "the possible unconstitutionality of a statute on its
face’ does not, in itself, justify an injunction against good faith attempts to
enforce it." 401 U.S. at 401 U.S. 54. At the same time, however, the

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Court clearly left room for federal injunctive intervention in a pending state

court prosecution in certain exceptional circumstances -- where irreparable

injury is "both great and immediate," 401 U.S. at 401 U.S. 46, where the

state law is "flagrantly and patently violative of express constitutional

prohibitions,"" 401 U.S. at 401 U. S. 53, or where there is a showing of

"bad faith, harassment, or... other unusual circumstances that would call
for equitable relief." 401 U.S. at 401 U. S. 54. In the companion case of

Perez v. Ledesma, 401 U. S. 82, the Court said that_"only in cases of
proven harassment or prosecutions undertaken by state officials in bad faith

without hope of obtaining a valid conviction and perhaps in other

extraordinary circumstances where irreparable injury can be shown is

federal injunctive relief against pending [Page 407 U. S. 231] state
prosecutions appropriate." 401 U.S. at 401 U. S. 85. See also Dyson v.
Stein, 401 U.S. 200, 401 U.S. 203.

The very purpose of § 1983 was to interpose the federal courts between the
States and the people, as guardians of the people's federal rights -- to
protect the people from unconstitutional action under color of state law,
"Whether that action be executive, legislative, or judicial." Ex parte
Virginia, 100 U.S. at 100 U. S. 346.

In carrying out that purpose, Congress plainly authorized the federal courts
to issue injunctions in § 1983 actions by expressly authorizing a "suit in
equity" as one of the means of redress. And this Court long ago recognized
that federal injunctive relief against a state court proceeding can, in some
circumstances, be essential to prevent great, immediate, and irreparable
loss of a person's constitutional rights. Ex parte Young, 209 U. S. 123; ef.
Truax v. Raich, 239 U. S. 33; Dombrowski v. Pfister, 380 U. S. 479.

For these reasons, we conclude that, under the [Page 407 U. S. 243] criteria

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established in our previous decisions construing the anti-injunction
statute,$ 1983 is an Act of Congress that falls within the "expressly
authorized" exception of that law. In so concluding, we do not question or
qualify in any way the principles of equity, comity, and federalism that
must restrain a federal court when asked to enjoin a state court proceeding.
These principles, in the context of state criminal prosecutions, were
canvassed at length last Term in Younger v. Harris, 401 U. S. 37, and its
companion case. They are principles that have been emphasized by this
Court many times in the past. Fenner v. Boykin, 271 U. S. 240; Spielman
Motor Sales Co. v. Dodge, 295 U. S. 89; Beal v. Missouri Pac. R. Co., 312
U.S. 45; Watson v. Buck, 313 U. S. 387; Williams v. Miller, 317 U.S. 599;
Douglas v. City of Jeannette, 319 U. S. 157; Stefanelli v. Minard, 342 U. S.
117; Cameron v. Johnson, 390 U.S. 611.

“Deprivation of fundamental liberty rights "for even minimal periods of
time, unquestionably constitutes irreparable injury." Elrod v. Bums, 96 S.
Ct. 2673; 427 U.S. 347, 373 (1976)

In final please “Enjoin” via “Injunction” Idaho-CR31-20-0097 with 2:23-
cv-01490-APG-DJA. The state actors are all the same, aside from the
additional co-conspirators Attorney Thomas Clark and Public Defender
Brennan Wright.

I declare under penalty of perjury that the foregoing is true and correct.
Executed on this October 31" day of 2023 at Las Vegas, Nevada.

bh ell

Com end (pro se)

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